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UNITED STATES DISTRICT COURT F"EL'EET" ;‘=' t. ._ .. »
WESTERN DISTRICT OF TENNESSEE r_ d 3. l 6
Westcrn Division UT:) .,!ll?’l 22 wl '
. ;_~;, 131 'i'ziiGL!;U
UNITED STATES OF AMERICA \t't..l°.>. CF `\i‘~l. MEF`M *-°
-v- Case No. 2:02cr20417-03-Ma
NICOLE WRIGHT
ORDER SETT|NG
CONDITIONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Oft'rce, defense counsel

and the U.S. Attorney in writing of any change in address and telephone nurnbcr.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
¢ Report as directed by the Probation Office.

0 Other: Defendant shall abide by all conditions of supervised release previously irnposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could res
a term of irnprr'sonment, a fine, or both. `

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with Fiu|a 55 and/or 32(b) FRCrP on

 

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

F ederal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
inforrnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after rclease, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you rriay be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen yeais, you shall

be fined riot more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fmed not more than 3100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.

Signature of Defend£t}

NICOLE WRIGHT

3421 WINCHESTER PL. #4
MEMPHIS, TN 38116
901-314-6308

D|RECT|ONS TO THE UN|TED STATES MARSHAL

E/The defendant is ORDERED released after processing.

E| The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial ofticer at the time and place specified, if still in
custody.

Date: June 22, 2005
M. PHAM
UNITED STATES MAGISTRATE JUDGE

Ao 199A order setting conditions of Reiease -2~

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:02-CR-204l7 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Hoiiorable Samuel Mays
US DISTRICT COURT

